UNITED sr ES {BiseRehwourT
EASTERN DISTRICT OF WISCONSIN

WNT WAR -7 PF 2b
UNITED STATES OF AMERICA,
JON Wi, SAREILIPPO

Plaintiff, CLERK

y Case No, 17-CR- 17 -CR- Bf

[18 U.S.C. § 371,
18 U.S.C. § 1001,
18 U.S.C. § 1505,
18 U.S.C. § 1512,
42 U.S.C. § 7413(c)]
STEVEN G. O’CONNELL,
PETER J. MARK, Green Bay Division
CHRISTY L. MCNAMEE,
GREDE, LLC, and GREDE I, LLC
(aka GREDE WISCONSIN SUBSIDIARIES, LLC),

Defendants.

INDICTMENT

THE GRAND JURY CHARGES:
At all times relevant to this Indictment,

General Allegations and Defendants

1. Defendant Grede, LLC (Grede), was a limited liability corporation organized
under the laws of the State of Delaware, and authorized to transact business in the State of
Wisconsin, with a principal office located at 4000 Town Center, Suite 500, in Southfield,
Michigan.

2. Defendant Grede II, LLC (Grede II), also was a limited liability corporation

organized under the laws of the State of Delaware, and authorized to transact business in the

Case 1:17-cr-00050-WCG_ Filed 03/07/17 Page1of31 Document 1

State of Wisconsin, with a principal office located at 4000 Town Center, Suite 500, in
Southfield, Michigan.
3. At times relevant to this indictment, Grede and Grede II also were known as

“Grede Wisconsin Subsidiaries, LLC,” and “Grede — Berlin, LLC.”

4, At all times relevant to this indictment, Grede and Grede II operated the Grede
Foundry, which was located in Berlin, Wisconsin.

5. At all times relevant to this indictment, Peter Mark was the Director of Corporate
Safety, Health & Environmental for Grede and Grede II.

6. At all times relevant to this indictment, Christy McNamee was the Safety
Coordinator at the Grede Foundry.

7. At all times relevant to this indictment, Steven O’Connell was an operations

manager and plant manager at the Grede Foundry.

Legal Background

Clean Air Act and Asbestos Regulations
8. The Clean Air Act (CAA), 42 U.S.C. §§ 7401-7671(q), is the federal law enacted

by Congress to protect and enhance the quality of the nation’s air resources so as to promote the
public health and welfare. Congress established in the CAA a list of hazardous air pollutants,
including asbestos.

9, The CAA authorizes the United States Environmental Protection Agency (U.S.
EPA) to establish standards to prevent or limit the emission of hazardous air pollutants into the
atmosphere. U.S. EPA has enacted regulations under the CAA to control the removal, handling,

and disposal of asbestos. These federal asbestos regulations are commonly known as the

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page2of31 Document 1

National Emission Standard for Asbestos (hereinafter referred to as “the federal asbestos
regulations’’).

10.‘ The federal asbestos regulations apply in a facility being renovated if the
combined amount of regulated asbestos-containing material to be stripped, removed, dislodged,
cut, drilled or similarly disturbed is at least 260 linear feet on pipes, at least 160 square feet on
other facility components, or at least 35 cubic feet once removed from any facility components.

11. The federal asbestos regulations provide that, prior to the commencement of any
demolition or renovation of a facility, the owner or operator of the facility must thoroughly
inspect the affected facility or part of the facility where the demolition or renovation operation
will occur for the presence of asbestos. 40 C.F.R. § 61.145(a).

12. The federal asbestos regulations also provide that each owner or operator of a
regulated renovation or demolition activity must notify U.S. EPA (or a delegated state) at least
10 working days before any asbestos removal occurs. 40 C.F.R. § 61.145(b).

13. Federal law allows U.S. EPA to delegate the authority to implement and enforce
the federal asbestos regulations to State governments 42 U.S.C. § 7412(1); 40 C.F.R. § 63.91.
The State of Wisconsin has been delegated the authority to administer the asbestos regulatory
program in the State, including the authority to receive notices of planned renovations or
demolitions. Therefore, required notices of demolition or renovation activities within the State of
Wisconsin must be sent to the Wisconsin Department of Natural Resources.

14. __ The federal asbestos regulations also provide that each owner or operator of a

regulated renovation or demolition activity must adequately wet all regulated asbestos-containing

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page3of31 Document1

material and ensure that it remains wet until collected and contained or treated in preparation for
disposal. 40 C.F.R. § 61.145(c)(6)(i).

15. The term “regulated asbestos-containing material” includes “friable asbestos
material,” which is any material containing more than one percent (1%) asbestos (as determined
using a specific analytical method) that, when dry, can be crumbled, pulverized or reduced to
powder by hand-pressure.

Occupational Safety and Health Act

16. In 1970 Congress enacted the Occupational Safety and Health Act, 29 U.S.C. §
651 et seq., to protect workers from death or injury in the workplace. 29 U.S.C. § 651. The
Occupational Safety and Health Act requires employers to provide their employees with working
conditions that are free of known dangers. 29 U.S.C. § 654.

17. The Occupational Safety and Health Act authorized the Secretary of the United
States Department of Labor to establish and enforce workplace safety and health standards. 29
U.S.C. §§ 652, 655. Under this authority, the Secretary of the Department of Labor has
established standards governing employees’ exposure to asbestos. 29 C.F.R. §§ 1910.19,
1910.1001. These standards are enforced by the U.S. Department of Labor’s Occupational Safety
and Health Administration (OSHA).

18. The Occupational Safety and Health Act also establishes rights of employees to
participate in activities that ensure their protection from workplace hazards, including the right to
file a confidential complaint with OSHA and to have the employee’s workplace inspected by an

OSHA Compliance Safety and Health Officer (hereinafter, “OSHA inspector”). 29 U.S.C. § 657.

Case .1:17-cr-00050-WCG_ Filed 03/07/17. + Page4of31 Document1

19, The Occupational Safety and Health Act additionally provides that, in order to
carry out the purposes of this Act, the Secretary of the United States Department of Labor is
authorized to enter without delay and at reasonable times any factory, plant, establishment,
construction site, or other area, workplace or environment where work is performed by an
employee of an employer, and to inspect and investigate during regular working hours and at
other reasonable times, and within reasonable limits and in a reasonable manner, any such place
of employment and all pertinent conditions, structures, machines, apparatus, devices, equipment,
and materials therein, and to question privately any such employer, owner, operator, agent or
employee. 29 U.S.C. § 657(a).

20. The Occupational Safety and Health Act further provides that, in making
inspections and investigations under this Act, the Secretary of the United States Department of
Labor may require the attendance and testimony of witnesses and the production of evidence
under oath. 29 U.S.C. § 657(b).

21. | The Occupational Safety and Health Act established an extensive administrative
process for initiating and processing OSHA enforcement actions. OSHA inspectors are
authorized to conduct workplace inspections, and to prepare reports documenting their findings.
By regulation, the OSHA Area Director must review the inspection report of a Compliance
Safety and Health Officer. If, on the basis of the report, the OSHA Area Director determines that
an employer has violated a requirement of the Occupational Safety and Health Act, or any
standard, rule or order promulgated under that statute, the Area Director shall issue a citation to
the employer. After receiving a citation, the employer is required to post the citation at the

workplace. 29 U.S.C. § 658(a); 29 C.F.R. § 1903.14(a).

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page5of31 Document1

22. Under the Occupational Safety and Health Act, if an employer wishes to contest a
citation issued by an OSHA Area Director, the employer can seek administrative review of the
citation before the Occupational Safety and Health Review Commission (““OSHRC”), 29 USC.
§ 659(c). When a citation is contested, the case is heard by an Administrative Law Judge (ALJ)
appointed by the OSHRC. 29 U.S.C. § 661(). Upon the application of any party to such a
hearing, the OSHRC shall issue subpoenas to compel the attendance and testimony of witnesses
or the production of evidence. 29 U.S.C. §§ 661, 161. After a hearing, the ALJ is required to
prepare and issue a report setting forth the ALJ’s findings and conclusions of law; this report
becomes the final order of the OSHRC within thirty days after it is issued, unless the OSHRC
elects to review the report. If the OSHRC adopts the ALJ’s findings and conclusions of law, the
employer can seek judicial review of the OSHRC’s decision in the United States Court of
Appeals. 29 U.S.C. § 660(a).

Factual Background

23. During in or about 2011 and 2012, the Grede Foundry produced molds for parts
such as brackets, engine components, manifolds, suspension components, valves, water-works
hardware, turbocharger components and pump bodies, and manufactured sand castings in
different sizes and patterns to meet its customers’ mold-specifications. As part of the
manufacturing process, the different products made at the Grede Foundry were sent off-site to be
“heat-treated,” and Grede or Grede II paid one or more outside businesses to perform the heat
treating.

24. During in or about 2011, management at the Grede Foundry decided to refurbish

an old heat treat oven in order to bring it back into service. The plan to refurbish this oven was

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page6éof31 Document 1
motivated at least in part by the desire to save money by performing the heat-treating process in-
house at the Grede Foundry, rather than paying one or more outside businesses to perform this
function. By the summer of 2011, the heat treat oven at the Grede Foundry had not been used for
approximately 15 to 20 years, and the roof of the oven had a layer of insulation that contained
asbestos.

25. In or about September and October of 2011, at least two businesses provided bids
' for the refurbishment of the heat treat oven. Each bid included statements that any asbestos
materials present on the oven had to be removed by Grede or Grede II, and one bid included the
words, “testing required.”

26. In or about October 2011, Grede and Grede II hired a new General Manager of
the Grede Foundry, and placed him in charge of refurbishing the heat-treat oven. The new
General Manager, M.K., decided to bring in a contractor (B.A.) to handle the refurbishment of
the heat treat oven.

27. In or about November 2011, Grede and Grede II hired B.A. as the contractor to
undertake the refurbishment of the heat treat oven. Between in or about November 2011 and in
or about January 2012, the scope of work for the refurbishment project was expanded to include
removal of the insulation from the top of the heat treat oven. However, prior to work on the heat
treat oven beginning, the material on top of the oven was not sampled or tested for the presence
of asbestos.

28. In or about January 2012, defendant Steven O’Connell and others known and

unknown to the Grand Jury directed a recently-promoted supervisor at the Grede Foundry

Case 1:17-cr-00050-WCG © Filed 03/07/17. Page 7of31 Document 1

(D.A.), to have his employees remove the dust and insulation material from the top of the heat
treat oven.

29. Inor about January 2012, D.A. and at least five Grede employees used jack-
hammers, chisels and other tools and equipment to remove the asbestos-containing insulation
from the top of the heat treat oven. The contractor, B.A., was not present while any of this work
was performed, and B.A. did not participate in the removal of any dust or material from the top
_of the oven. The work generated clouds of dust which spread into the nearby maintenance shop
and shipping area of the Grede Foundry. The workers were provided with inadequate personal
protection equipment in the form of disposable dust masks.

30.  Inor about January 2012, while the insulation-removal work was ongoing, D.A.
called defendant Steven O’Connell, and told him and defendant Christy McNamee about the
dusty conditions. D.A. also told O’Connell and McNamee that he was concerned that there was
asbestos in the material being removed from the heat treat oven. At the time, McNamee and
O’Connell told D.A. that he and the other workers were fine, and also said that they would have
the insulation material tested at a later date. Defendant Steven O’Connell then instructed D.A. to
retrieve an industrial vacuum at the facility known as a “Super Sucker” and use it to vacuum off
pieces of insulation from the top of the heat treat oven. When D.A. directed his employees to use
this vacuum as O’Connell had instructed, the “Super Sucker” blew dust from the insulation into
the air. When a facility door was opened, clouds of dust flowed through the open doorway to the
outside of the building.

31. Onor about January 11, 2012, the Wisconsin Department of Natural Resources

(WDNR) received a complaint from a Grede Foundry employee that asbestos materials had been

8

Case 1:17-cr-00050-WCG Filed 03/07/17 Page 8of31 Document 1

improperly removed at the Grede Foundry. On or about January 12, 2012, an inspector from the

_ WDNR’s Oshkosh, Wisconsin, office — Inspector (J.F.) — responded to the complaint and went to
the Grede Foundry, where she was met by defendant Peter Mark, defendant Christy McNamee,
and others known and unknown to the Grand Jury. One Grede Foundry representative (W.S.),
told the WDNR Inspector that there had been an inspection of the oven, and provided Inspector —
J.F. with a copy of a report dated October 2011, which indicated that three samples had been
collected, analyzed and found not to contain asbestos. However, no one present during the
inspection explained to Inspector J.F. that the October 2011 report related to samples that had
been collected from the inside of the heat treat oven only, whereas the insulation removed by the
Grede Foundry workers had been located on the top of the oven.

32. Onor about January 19, 2012, an Inspector from the United States Occupational
Safety and Health Administration (OSHA) office in Appleton, Wisconsin, conducted an
inspection of the Grede Foundry. At the conclusion of this inspection, defendant Christy
McNamee provided several documents to the OSHA Inspector, including a letter dated January
12, 2012, which was signed by contractor B.A., which stated that “no asbestos was present” on
the roof of the heat treat oven, “just normal foundry dirt and fire brick pieces.” At that time, B.A.
did not know that statement to be true.

33. Between in or about January 2012 and in or about March 2012, Peter Mark and
Christy McNamee spoke to Grede Foundry employees who had removed insulation from the top
of the heat treat oven. Mark and McNamee also spoke to D.A., the supervisor in charge of the
Third Shift at the Grede Foundry. McNamee asked D.A. questions about the working conditions

that existed during the removal of insulation from the top of the heat treat oven. When D.A.

Case 1:17-cr-00050-WCG_ Filed 03/07/17. + Page9of31 ‘Document 1

reminded McNamee that she had been made aware of the work-conditions at the time removal of
the insulation from the oven was ongoing, McNamee told D.A. that he needed to watch what he ~
said.

34. On or about February 17, 2012, WDNR Inspector J.F. returned to the Grede
Foundry to conduct another inspection, and informed Peter Mark and Christy McNamee that
there had been additional complaints made to the WDNR that the material which she had
sampled in January 2012 was not the material which had been removed from the top of the oven.
Inspector J.F. collected samples of different materials found around the outside of the heat treat
oven, including material which later laboratory testing revealed to contain ten percent chrysotile
asbestos. During this inspection, a Grede Foundry representative falsely told Inspector J.F. that
the material on top of the heat treat oven had been removed from inside the oven, with the
material being brought down through the oven’s roof into the interior of the oven, and that,
therefore, the removed-material should not be found in areas around the exterior of the heat treat
oven. Christy McNamee repeated these false representations, and also stated that the material
observed and sampled by Inspector J.F. must have been a different material than what had been
removed from the oven.

35, On or about February 24, 2012, Peter Mark sent an email to another manager of
Grede and Grede II, stating in relevant part as follows: “Berlin asbestos testing results are not
good news. As you know we collected side-by-side test samples when OSHA, EPA [sic] and
Department of Health were at Berlin last Friday February 17, 2012. We do not expect to hear
from OSHA/DNR/ DOH for several more weeks, our test results are as follows...” Mark’s email

proceeded to explain that “the dust sitting on angle iron structure and on the floor behind the heat

10

Case 1:17-cr-00050-WCG_ ‘Filed 03/07/17. Page10o0f31 Document 1

treat oven had a detectable level of Chrysotile (asbestos),” and that “[r]esults on some bricks
(prior to samples being collected were undisturbed laying [sic] on the floor behind an angle iron
wall structure) have a 10 to 15% Chrysotile (asbestos). We certainly can argue since these were
undisturbed employees were not exposed to this asbestos.”

36. Inthe email message sent by Peter Mark on or about February 24, 2012, Mark
also wrote, “If I had to guess, I think OSHA will be looking for a willful citation on this with a
$70,000 fine. Can’t guess what the [Wisconsin] DNR or DOH will do with this.” The email
concluded with the order, “Berlin staff: KEEP THIS INFORMATION UNDER RAP [sic] until
we can hammer out our final plans of dealing with this issue.” Defendant Christy McNamee was
copied on this email message, and she forwarded this email to defendant Steven O’Connell on or
about February 24, 2012.

37. | Onor about February 27, 2012, WDNR Inspector J.F. informed Peter Mark that
one of the samples she had collected during her February 17, 2012, inspection of the Grede
Foundry had tested positive for asbestos. Inspector J.F. also instructed Mark to limit access to the
area of the heat treat oven and to contact a certified asbestos-abatement contractor to clean up the
area as soon as possible. In response, Mark insisted that the bricks along the side of the heat treat
oven were from a different time, and were not consistent with the material removed from the top
of the oven.

38. On or about February 28, 2012, Peter Mark sent an email to Christy McNamee
and others at Grede known and unknown to the Grand Jury, in which he stated that he had
revised language in an “Asbestos Awareness Training” document describing the asbestos

situation involving the heat treat oven at the Berlin, Wisconsin, facility, by adding the following

1]

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page11of31 Document 1
statements: “During the reconditioning of the Heat Treat Oven some undisturbed material behind
a wall was found to contain a small percentage of asbestos. Because this area was not
disturbed, employees were not exposed to this asbestos.”

39. Between on or about February 28, 2012, and in or about March 201 2, defendants
Peter Mark and Christy McNamee arranged for meetings to be held with employees at the Grede
Foundry to discuss the asbestos situation involving the heat treat oven, and to provide training on
asbestos issues. At these meetings, the “Asbestos Awareness Training” document revised by
Peter Mark on or about February 28, 2012, was shown to the employees. This document included
the following statements: “During the reconditioning of the Heat Treat Oven some undisturbed
material behind a wall was found to contain a small percentage of asbestos, Because this area
was not disturbed, employees were not exposed to this asbestos.” Following one of these
meetings, an employee of the Grede Foundry (K.H.) told Peter Mark that the material removed
from the heat treat oven had contained asbestos, and gave Mark a sample of material which the
employee said was the same material that had been removed from the oven.

40. Between on or about April 20, 2012, and on or about April 25, 2012, Peter Mark
delivered two samples of material to a laboratory for asbestos-analysis. The samples consisted of
material from the top of the heat treat oven at the Grede Foundry. However, when he gave these
two samples to the laboratory, Peter Mark provided the following address as the “Project Site”:
“320 Madison, Omro, WI.” This address was the personal residence of Christy McNamee at the
time, and not an address affiliated with the Grede Foundry or the heat treat oven.

41. Between on or about April 25, 2012, and in or about May 2012, defendant Peter

Mark received the laboratory results of the asbestos-analysis performed on the two samples of

12

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page12o0f31 Document 1

material which he had delivered to the laboratory on or about April 25, 2012. The laboratory
results demonstrated that each sample contained approximately twenty-percent (20%) asbestos.
However, neither Peter Mark nor anyone affiliated with the Grede Foundry advised OSHA or the
WDNR about the existence of these samples or the results of the asbestos-analysis performed on
these samples.

42. In or about March 2012, Grede or Grede II hired an asbestos-abatement contractor
to remove asbestos debris from areas around the heat treat oven, and hired the same contractor in
or about May 2012 to collect samples of insulation from the heat treat oven. The samples were
analyzed for asbestos-content, and five of the thirteen samples were found to contain asbestos at
concentrations exceeding the regulatory level of one-percent.

43. | Onor about June 13, 2012, Christy McNamee sent an email message to Peter
Mark and other managers at Grede and Grede II known and unknown to the Grand Jury, which
summarized a conversation between Christy McNamee, Grede manager M.M., and a
representative of the United States Occupational Safety and Health Administration (OSHA).
McNamee’s email stated in pertinent part, “We will be issued 2 citations: 1. The respirator that
was used when the employee was on top of the oven was a dust mask not an approved respirator
for asbestos. Grede was given a one day [sic] abetment [sic] for this because the work is
completed. 2. Grede Berlin did not identify the Asbestos before work was performed, although it
was not a high content it was up to almost 2%.”

44, On or about June 13, 2012, the Area Director of the OSHA office in Appleton,
Wisconsin, issued a citation to “Grede Wisconsin Subsidiaries, LLC,” for violations of OSHA

regulations committed during the course of the removal of the asbestos-insulation from the top of

13

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page13o0f31 Document 1

the heat treat oven at the Grede Foundry. Among other things, the citation offered Grede the
opportunity to enter into an “Expedited Informal Settlement Agreement” (EISA), which would
include a reduced penalty.

45. On or about June 15, 2012, defendant Peter Mark sent an email to Christy
McNamee, as well as other personnel at the Grede Foundry, to which he attached a document
with the file name, “Letter to terminated employees.doc.” The June 15, 2012, email message
stated, “Attached is the first draft of the letter to the asbestos exposed employees. Your
thoughts?” The document attached to defendant Peter Mark’s June 15, 2012, email message was
a draft form-letter with the date, “June 1, 2011,” which began, “A few months ago, while you
work [sic] at Grede-Berlin in early January, you assisted with the cleaning of the heat treating
oven refurbishing project. Due to an internal communication failure, during the few hours you
assisted with this project, you may have been exposed to asbestos. This would have been a very
minor exposure and is highly unlikely to have any long term effects on your health. Despite that
[sic] your exposure was very minor, in order to give you reassurance that your health has not
been negatively affected, we are offering you a health exam.” The letter concluded with the
following: “Again, your exposure was very minor and it is highly unlikely there [sic] it will
every [sic] have any negative affects [sic] on your future health. As a company we deeply regret
this situation occurred and we are offing [sic] this health exam to assure you that this minor
exposure did not have any affects [sic] on your long term health.” The letter was to be signed by

Christy McNamee.

14

Case 1:17-cr-00050-WCG__ Filed 03/07/17.  Page14o0f31 Document 1

46. On or about June 18, 2012, at the request of Peter Mark, Christy McNamee
forwarded the OSHA citation and associated documents to Peter Mark, who forwarded the
citation and associated documents to other managers of Grede and Grede II.

47. On or about June 27, 2012, Peter Mark reviewed a letter addressed to OSHA that
had been prepared by Christy McNamee; when McNamee sent this draft letter to Peter Mark, she
included various documents as attachments, including the February 28, 2012, “Asbestos
Awareness Training” document. On or about June 28, 2012, defendant McNamee sent this letter
to the OSHA office in Appleton, Wisconsin, along with the attachments, including the “Asbestos
Awareness Training” document which represented that the material sampled by the WDNR in
February 2012 and found to contain asbestos had been “undisturbed” during the renovation of
the heat treat oven, and which also represented that “employees were not exposed to this
asbestos.” Neither Peter Mark nor Christy McNamee included in the submittal to OSHA the
April 2012 laboratory report demonstrating that two samples of material from the top of the heat
treat oven each contained approximately twenty-percent (20%) asbestos.

48. On or about July 3, 2012, Grede entered into an “Expedited Informal Settlement
Agreement” with OSHA, under which a final penalty of $2,800 was imposed on Grede.

49. In or about July 2012, Grede II hired a new contractor to complete the project of
refurbishing the heat treat oven. This new contractor sub-contracted the asbestos-abatement
work, and the remaining asbestos-insulation was removed from the heat treat oven in or about

July 2012.

15

Case 1:17-cr-00050-WCG_ ‘Filed 03/07/17. Page15o0f31 Document 1

COUNT ONE
(18 U.S.C. § 371)

THE GRAND JURY FURTHER CHARGES:
50. Beginning in or about January 2012, and continuing thereafter until on or about
June 28, 2012, in the State and Eastern District of Wisconsin,
PETER J. MARK,
CHRISTY L. MCNAMEE,
STEVEN G. O’CONNELL,
GREDE, LLC, and GREDE II, LLC,
acting personally and through GREDE, LLC’s and GREDE II, LLC’s agents and employees, and
for the benefit of defendants GREDE, LLC, AND GREDE II, LLC, knowingly conspired with
each other and with others known and unknown to the Grand Jury, to defraud the United States,
and to commit offenses against the United States, namely:
(A) To knowingly and will fully make materially false, fictitious, and fraudulent
statements or representations in a matter within the jurisdiction of the executive branch of
the Government of the United States, in violation of 18 U.S.C. § 1001;
(B) — To impair, impede and frustrate the lawful governmental functions of the
Wisconsin Department of Natural Resources (WDNR) as delegated by the United States
Environmental Protection Agency (U.S. EPA) and the United States Environmental
Protection Agency to regulate and enforce the requirements of the Clean Air Act’s
federal asbestos regulations;

(C) To impair, impede and frustrate the lawful governmental functions of the United

States Occupational, Safety and Health Administration to investigate the exposure of

16

Case 1:17-cr-00050-WCG_‘Filed 03/07/17. Page16of31 Document 1
employees to asbestos and associated hazards, and to protect the health of employees

from exposure to asbestos;

(D)  Tocorruptly obstruct, influence and impede an official proceeding, and to attempt

to do so, in violation of 18 U.S.C. § 1512(c);

(E)  Tocorruptly influence, obstruct and impede the due and proper administration of

the law under which a pending proceeding was being had before the United States

Occupational, Safety and Health Administration in violation of Title 18, United States

Code § 1505; and

(F) — Toconceal and cover up violations of the Clean Air Act and the federal asbestos

regulations in violation of Title 18, United States Code § 1001.

51. It was a part of the conspiracy that defendants concealed, misrepresented and hid,
and caused to be concealed, misrepresented, and hidden, the existence and purpose of the
conspiracy and the acts done in furtherance of the conspiracy.

Objects of the Conspiracy

52. One object of the conspiracy was to conceal the true facts and circumstances of
the improper removal of asbestos-containing material from the heat treat oven in the Grede
Foundry from representatives of the United States Department of Labor, Occupational Safety
and Health Administration (OSHA), Area Office in Appleton, Wisconsin; and from the United
States Department of Labor, Occupational Safety and Health Review Commission (OSHRC).

53. Another object of the conspiracy was to conceal the facts and circumstances of
the improper removal of asbestos-containing material from the top of the heat treat oven from

representatives of the Wisconsin Department of Natural Resources (WDNR) in Oshkosh,

17

Case 1:17-cr-00050-WCG__— Filed 03/07/17 Page17of31 Document 1
Wisconsin.

54. Another object of the conspiracy was to conceal from both OSHA and employees
at the Grede Foundry the extent of exposure to asbestos experienced by Grede employees who
were directed to remove the asbestos-containing material from the top of the heat treat oven, as
well as employees who were working near the heat treat oven at the time of the improper
removal of asbestos-containing material, and who were exposed to asbestos fibers released
during the improper asbestos-removal work.

Overt Acts

55. In furtherance of the conspiracy, defendants and other members of the conspiracy
known and unknown to the Grand Jury knowingly committed and caused to be committed
numerous overt acts, including the following:

56. Between in or about October 2011 and in or about January 2012, defendant
Steven O’Connell directed managers and employees under his supervision to remove insulation
from the top of the heat treat oven at the Grede Foundry, and ordered employees to make sure
that the insulation removed from the top of the oven was cleaned up before other Grede
employees arrived for their work-shift the following morning.

57. In or about January 2012, one of the Grede Foundry employees told defendant
Steven O’Connell that another employee had collected a sample of the insulation material on top
of the oven and had it analyzed for asbestos-content, and that the material turned out to contain
asbestos. O’Connell responded by telling the employee that, if anything more was said about the

matter by union employees, they would be terminated.

18

Case 1:17-cr-00050-WCG_ ‘Filed 03/07/17. Page18o0f31 Document 1

58. On or about January 12, 2012, defendant Christy McNamee directed contractor
B.A. to see the Personnel Director at the Grede Foundry. The Personnel Director (J.R.) typed a
letter, and asked B.A. to sign the letter if he agreed that he had not seen asbestos on top of the
heat treat oven. B.A. advised the Personnel Director that he could not recognize asbestos, but
nevertheless signed the letter. This letter was dated 1/12/12, and included the false statements
and representations that no asbestos had been present on top of the heat treat oven.

59. On or about February 17, 2012, during the second inspection of the Grede
Foundry by Inspector J.F. of the WDNR, defendant Christy McNamee repeated a false
representation to the WDNR inspector that the insulation on top of the heat treat oven had been
removed from inside the oven, with the material being brought down through the oven’s roof
into the interior of the oven, and that, therefore, the material found on the floors around the oven
by the WDNR must have been a different material.

60. On or about February 24, 2012, defendant Peter Mark sent an email to others
known and unknown to the Grand Jury, stating at the outset that “Berlin asbestos testing results
are not good news,” explaining that bricks found on the floor contained “10 to 15% Chrysotile
(asbestos),” and expressing defendant Mark’s opinion that, “I think OSHA will be looking for a
willful citation on this with a $70,000 fine.” Defendant Mark concluded this email with the
instruction, “Berlin staff: KEEP THIS INFORMATION UNDER RAP [sic] until we can
hammer out our final plans of dealing with this issue.”

61. On or about February 28, 2012, defendant Mark sent an email to Christy
McNamee and others at Grede known and unknown to the Grand Jury, in which he stated that he

had revised language in an “Asbestos Awareness Training” document describing the asbestos

19

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page19o0f31 Document 1
situation involving the heat treat oven at the Grede Foundry, by adding the following statements:
“During the reconditioning of the Heat Treat Oven some undisturbed material behind a wall was
found to contain a small percentage of asbestos. Because this area was not disturbed,
employees were not exposed to this asbestos.” These statements were false and misleading.

62. | Between on or about April 20, 2012, and on or about April 25, 2012, when
defendant Peter Mark delivered and caused to be delivered two samples of asbestos-containing
material taken from the heat treat oven to an asbestos-testing laboratory, Mark provided an
‘inaccurate “Project Site” address of “320 Madison, Omro, Wisconsin,” as the location from
which the samples had been collected, when in truth and in fact, and as defendant Peter Mark
well knew at the time, the samples had been collected from the Grede Foundry’s heat treat oven
by Grede Foundry employees, and the address which Mark provided as the “Project Site” in
reality was the personal residence of Christy McNamee, and not an address affiliated with the
Grede Foundry or the heat treat oven.

63. On or about June 15, 2012, defendant Peter Mark sent an email to Christy
McNamee, as well as other personnel at the Grede Foundry, to which he attached a document
with the file name, “Letter to terminated employees.doc.” The June 15, 2012, email message
stated, “Attached is the first draft of the letter to the asbestos exposed employees. Your
thoughts?” The document attached to defendant Peter Mark’s June 15, 2012, email message was
a draft letter with the date, “June 1, 2011,” which began, “A few months ago, while you work
[sic] at Grede-Berlin in early January, you assisted with the cleaning of the heat treating oven
refurbishing project. Due to an internal communication failure, during the few hours you assisted

with this project, you may have been exposed to asbestos. This would have been a very minor

20

Case 1:17-cr-00050-WCG__‘Filed 03/07/17. Page 20o0f31 Document 1

exposure and is highly unlikely to have any long term effects on your health. Despite that [sic]
your exposure was very minor, in order to give you reassurance that your health has not been
negatively affected, we are offering you a health exam.” The letter concluded with the following:
“Again, your exposure was very minor and it is highly unlikely there [sic] it will every [sic] have
any negative affects [sic] on your future health. As a company we deeply regret this situation
occurred and we are offing [sic] this health exam to assure you that this minor exposure did not
have any affects [sic] on your long term health.” The letter was to be signed by Christy
McNamee. Ultimately one or more of the employees who had worked on the heat treat oven
received a copy of this letter.

64. On or about June 27, 2012, Christy McNamee emailed to Peter Mark a draft letter
addressed to the OSHA inspector (S.R.) from OSHA’s Appleton, Wisconsin, office; attached to
McNamee’s email were several other documents, including the “Asbestos Awareness Training”
document revised and approved by Peter Mark on or about February 28, 2012, which contained
the false and misleading statements, “During the reconditioning of the Heat Treat Oven some
undisturbed material behind a wall was found to contain a small percentage of asbestos,” and
“Because this area was not disturbed, employees were not exposed to this asbestos.”

65. On or about June 27, 2012, defendant Mark reviewed and revised the letter to
- OSHA which had been drafted by Christy McNamee, and emailed the revised letter addressed to
OSHA and the original set of attachments back to McNamee. On or about June 28, 2912,
defendant McNamee sent this revised letter to the OSHA office in Appleton, Wisconsin, along
with the original set of attachments, including the “Asbestos Awareness Training” document

revised by Peter Mark on or about February 28, 2012, which document included the false and

21

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page 21of31 Document 1
misleading representations that the material found near the heat treat oven and sampled by the
WDNR (and found to contain asbestos at a concentration of approximately ten-percent) was “not
disturbed” during the work on the heat treat oven, and which also included the false and
misleading statement that “no employees were exposed to this asbestos.” At the time this letter
was sent to OSHA, neither McNamee nor Mark included with this letter the laboratory records of
the asbestos-analysis performed on the two samples which Peter Mark had given to a laboratory
on or about April 25, 2012, and which had been found to contain asbestos at a concentration of
20 percent. In addition, neither McNamee nor Mark included in the records sent to OSHA the
letter prepared by defendant Mark on or about June 15, 2012, which letter was sent to one or
more of the Grede Foundry employees who had been exposed to asbestos during their work on
the heat treat oven refurbishment project.

All in violation of Title 18, United States Code, Sections 371 and 2.

22

Case 1:17-cr-00050-WCG_ ‘Filed 03/07/17. Page 22o0f31 Document 1
COUNT TWO
(18 U.S.C. § 1001(a)(3))

THE GRAND JURY FURTHER CHARGES:
66. Between on or about June 26, 2012, and June 28, 2012, in the State and Eastern
District of Wisconsin,
PETER J. MARK,
CHRISTY L. MCNAMEE,
GREDE, LLC, and GREDE I, LLC,
did knowingly and willfully make and use a false writing or document, knowing the same to
contain a materially false, fictitious or fraudulent statement or entry, in a matter within the
jurisdiction of the executive branch of the Government of the United States, in that defendants
CHRISTY MCNAMEE and PETER MARK, each acting within the scope of her and his agency
and employment, and for the benefit of GREDE, LLC, and GREDE II, LLC, delivered and
caused to be delivered to the United States Occupational Safety and Health Administration a
document entitled “Asbestos Awareness Training” that included the false statements and entries
that, “[d]Juring the reconditioning of the Heat Treat Oven some undisturbed material behind a
wall was found to contain a small percentage of asbestos,” and “[b]ecause this area was not
_disturbed, employees were not exposed to this asbestos,” when in truth and in fact, and as
defendants well knew at the time, samples of the material which employees of the Grede
Foundry had removed from the top of the heat treat oven were tested for asbestos-content on or
about April 25, 2012, at the request of defendant PETER MARK, and were found to contain
approximately 20 percent asbestos; and employees of the Grede Foundry were exposed to
asbestos fibers during the removal of the material from the top of the heat treat oven.
All in violation of Title 18, United States Code, Sections 1001(a)(3) and 2.

23

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page 23o0f31 Document 1

COUNT THREE
(18 U.S.C. § 1505)

THE GRAND JURY FURTHER CHARGES:
67. On or about January 19, 2012, in the State and Eastern District of Wisconsin,

CHRISTY L. MCNAMEE,
GREDE, LLC, and GREDE II, LLC,

did corruptly influence, obstruct and impede the due and proper administration of the law under
which a pending proceeding was being had before the United States Department of Labor’s
Occupational Safety and Health Administration (OSHA), and endeavored to do so, in that, on or
about January 19, 2012, during an investigation by a representative of OSHA from the Appleton,
Wisconsin, Area Office of OSHA, regarding the removal of asbestos-containing material from
the heat treat oven at the Grede Foundry, defendant CHRISTY MCNAMEE, acting within the
scope of her agency and employment, and for the benefit of defendants GREDE, LLC, and
GREDE II, LLC, and acting with the intent and for the purpose of influencing, obstructing and
impeding the due and proper administration of the law under which a pending proceeding was
being had before OSHA, knowingly and corruptly provided a letter dated January 11, 2012, to
the OSHA representative that was signed by a contractor, B.A., and that falsely represented and
implied that B.A. and the company for which he worked, P.C.T., had cleaned the entire roof of
the heat treat oven and removed all dirt and debris, and that no asbestos had been present, when
in truth and in fact, and as defendant CHRISTY MCNAMEE well knew at the time she provided
the letter to the OSHA representative, neither B.A. nor P.C.T. had removed the asbestos-
containing material from the top of the heat treat oven, and neither B.A. nor P.C.T. had any

information or knowledge as to the nature of the material on top of the heat treat oven.

24

Case 1:17-cr-00050-WCG___ Filed 03/07/17 Page 240f31 Document 1

All in violation of Title 18, United States Code, Sections 1505 and 2.

25

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page 25of31 Document 1
COUNT FOUR
(18 U.S.C. § 1505)

THE GRAND JURY FURTHER CHARGES:

68. Between on or about June 26, 2012, and on or about June 28, 2012, in the State
and Eastern District of Wisconsin,

PETER J. MARK,
CHRISTY L. MCNAMEE,
GREDE, LLC, and GREDE II, LLC,

did corruptly influence, obstruct and impede the due and proper administration of the law under
which a pending proceeding was being had before the United States Department of Labor’s
Occupational Safety and Health Administration (OSHA) and the Occupational Safety and Health
Review Commission, and endeavored to do so, in that, between on or about June 26, 2012, and
on or about June 28, 2012, following the issuance of a citation by the Area Director of OSHA in
Appleton, Wisconsin, against “Grede Wisconsin Subsidiaries, LLC,” for violations of OSHA
regulations that occurred in connection with the removal of asbestos-containing material from
the heat treat oven at the Grede Foundry, defendants PETER MARK and CHRISTY
MCNAMEE, each acting within the scope of his and her agency and employment, and for the
benefit of GREDE, LLC, and GREDE II, LLC, and each acting with the intent and for the
purpose of influencing, obstructing and impeding the due and proper administration of the law
under which a pending proceeding was being had before OSHA and the Occupational Safety and
Health Review Commission, knowingly and corruptly delivered and caused to be delivered to the
OSHA office in Appleton, Wisconsin, a document entitled “Asbestos Awareness Training” that
included the false and misleading statements and representations that “[d]uring the
reconditioning of the Heat Treat Oven some undisturbed material behind a wall was found to

26

Case 1:17-cr-00050-WCG__ Filed 03/07/17 Page 26of31 Document1

contain a small percentage of asbestos,” and “[b]ecause this area was not disturbed, employees
were not exposed to this asbestos,” when in truth and in fact, and as defendants well knew at the
time, Grede Foundry employees had removed dry insulation from the top of the heat treat oven
in or about January 2012, testing of this insulation conducted at the request of defendant PETER
MARK in or about April 2012 had demonstrated that the insulation contained approximately 20
percent asbestos, and Grede Foundry employees had been exposed to asbestos fibers during the
removal activities.

All in violation of Title 18, United States Code, Section 1505 and 2.

27

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page27o0f31 Document 1

COUNT FIVE
(18 U.S.C. § 1512(c)(2))

THE GRAND JURY FURTHER CHARGES:
69. Between on or about June 26, 2012, and on or about June 28, 2012, in the State
and Eastern District of Wisconsin,
PETER J. MARK,
CHRISTY L. MCNAMEE,
GREDE, LLC, and GREDE II, LLC,
did corruptly obstruct, influence and impede an official proceeding before the United States
Department of Labor’s Occupational Safety and Health Administration (OSHA) and the
Occupational Safety and Health Review Commission, and attempted to do so, in that, following
the issuance by the Area Director of OSHA in Appleton, Wisconsin, of a citation against “Grede
Wisconsin Subsidiaries, LLC,” for violations of OSHA regulations that occurred in connection
with the removal of asbestos-containing material from the heat treat oven at the Grede Foundry,
defendants PETER MARK and CHRISTY MCNAMEE, each acting within the scope of his and
her agency and employment, and for the benefit of GREDE, LLC, and GREDE II, LLC, and
each acting with the intent and for the purpose of obstructing, influencing or impeding an official
proceeding before the Occupational Safety and Health Review Commission, knowingly and
corruptly delivered and caused to be delivered to the OSHA office in Appleton, Wisconsin, a
document entitled “Asbestos Awareness Training” that included the false and misleading
statements and representations that “[d]uring the reconditioning of the Heat Treat Oven some
undisturbed material behind a wall was found to contain a small percentage of asbestos,” and
“b]ecause this area was not disturbed, employees were not exposed to this asbestos,” when in
truth and in fact, and as the defendants well knew at the time, Grede Foundry employees had

28

Case 1:17-cr-00050-WCG__‘Filed 03/07/17. Page 28o0f31 Document 1
removed dry insulation from the top of the heat treat oven in or about January 2012; testing of
this insulation conducted at the request of defendant PETER MARK in or about April 2012 had
demonstrated that the insulation contained approximately 20 percent asbestos; and Grede
Foundry employees had been exposed to asbestos fibers during the removal activities.

All in violation of Title 18, United States Code, Sections 1512(c)(2) and 2.

29

Case 1:17-cr-00050-WCG_ Filed 03/07/17. Page 29o0f31 Document 1
COUNT SIX
(42 U.S.C. § 7413(c)(1))

THE GRAND JURY CHARGES:
1. Between in or about October 2011 and in or about January 2012, in the State and

Eastern District of Wisconsin,

STEVEN G. O’CONNELL,
GREDE, LLC, AND GREDE II, LLC,

each of whom was an owner and operator of a demolition and renovation activity at a facility
located at 242 South Pearl Street, in Berlin, Wisconsin, in which at least 160 square feet and 35
cubic feet of regulated asbestos-containing material were removed, knowingly violated the
federal Clean Air Act and the federal asbestos regulations, in that defendant STEVEN
O’CONNELL, acting within the scope of his agency and employment, and for the benefit of
GREDE, LLC, and GREDE II, LLC, knowingly failed to adequately wet all regulated asbestos |
containing material and ensure that it remained wet until it was collected, contained or treated in
preparation for disposal, as required by 40 C.F.R. § 61.145(c)(6)(i).

All in violation of Title 42, United States Code, Section 7413(c)(1) and Title 18, United |

States Code, Section 2.

30

Case 1:17-cr-00050-WCG_‘Filed 03/07/17. Page 30o0f31 Document 1
COUNT SEVEN
(42 U.S.C. § 7413(c)(4))

THE GRAND JURY FURTHER CHARGES:
2. Between in or about October 2011 and in or about January 2012, in the State and
Eastern District of Wisconsin,
STEVEN G. O’CONNELL,
CHRISTY L. MCNAMEE,
GREDE, LLC, AND GREDE II, LLC,
negligently released and caused the release of asbestos, a hazardous air pollutant listed in 42
U.S.C. § 7412, into the ambient air and, at the time of the release, negligently placed one or more
other persons in imminent danger of death or serious bodily injury.

All in violation of Title 42, United States Code, Section 7413(c)(4) and Title 18, United

States Code, Section 2.

A TRUE BILL:

a i

Dated: 3 -7?-/7

GREGORY Y HAANSTAD
United States Attorney

31

Case 1:17-cr-00050-WCG_‘Filed 03/07/17. Page 31of31 Document 1
